                                           Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 1 of 15
 JS 44 (Rev. 06/17)                                                                     CIVIL COVER SHEET
 The JS 44 civil cover sheet and the i!lforrnation contained herein.neither replace nor suppleJ?lent the fil.ing and service ofp!eadin&s or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Jud1c1al Conference of the United States m September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 I. {a) PLAINTIFFS                                                                                                         DEFENDANTS
 Mariam Succar                                                                                                          Walmart, Inc. f/k/a Wal-Mart Stores, Inc. and Wal-Mart Stores East,
                                                                                                                        L.P
     (b) County of Residence ofFirst Listed Plaintiff                                                                      County of Residence ofFirst Listed Defendant                                       Benton County, AR
                                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                           NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                       THE TRACT OF LAND INVOLVED.

     (C)    Attorneys (Firm Name, Address, and Telephone Number)                                                           Attorneys (if Known)

 Kitay Law Offices
 1810 Union Blvd., Allentown, PA 18109 (610) 776-1700

II. BASIS OF JURISD                                                                                         III. CITIZENSHIP OF PRINCIPAL p ARTIES (Place an ''.k" in One Box for Plaintiff
                                                                                                                    (For Diversity Cases Only)                                                    and One Box for Defendant)
0 I      U.S. Government                                         l Question                                                                  PTF               DEF                                               PTF      DEF
            Plaintiff                                          .S. Government Not a Party)                     Citizen of This State         0 I               0   I         Incorporated or Principal Place       0 4    0 4
                                                                                                                                                                               of Business In This State

0 2      U.S. Government                           0 4    Diversity                                            Citizen of Another State             0 2         0     2      Incorporated and Principal Place                                    0 5               0 5
            Defendant                                       (Indicate Citizenship of Parties in Item Ill)                                                                       of Business In Another State

                                                                                                               Citizen or Subject of a              0 3         0     3      Foreign Nation                                                      0 6               0 6
                                                                                                                 Foreign Coun
 IV.
 - - - -NATURE
            - - - - - - - OF
                          --        SUIT ,--------
                                    --   ---                 -- .. -------- - ---·/                                                                             Click here for: N ................. '-' fSuitCode D .... .., ...................................
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0   11 0 Insurance                                 PERSONAL INJURY                 PERSONAL INJURY             0 625 Dmg Related Seizure                 o 422 Appeal 28 use 158                                O 375 Fal~e Claims Act
0   l20Marine                                  0   310 Airplane                  0 365 Personal Injury -             of Property 21USC881                0 423 Withdrawal                                       0 376 Qu! Tam (31 USC
0   130 Miller Act                             0   3 15 Airplane Product                 Product Liability     0 690 Other                                     28 USC 157                                                  37?9(a))
0   140 Negotiable Instrwnent                            Liability               0 367 Health Care/                                                                                                             0    400 Sta.le Reapportiorunent
0   150 Recovery of Overpayment                0   320 Assault, Libel &                 Pharmaceutical                                                  J!llllliBROPERiltYiRlGHiUS:~                            0    410 AntitIUst
         & Enforcement of Judgment                       Slander                        Personal Injury                                                  0 820 Copyrights                                       0    430 Ba~ks and Banking
0   151 Medicare Act                           0   330 Federal Employers'               Product Liability                                                0 830 Patent                                           O    450 Coµunerce
0   152 Recovery of Defaulted                            Liability               0 368 Asbestos Personal                                                 0 835 Patent - Abbreviated                             0    460 Dejlmtation
         Student Loans                         0   340 Marine                            Injury Product                                                             New Drug Application                        0    4 70 Ra¢keteer Influenced and
         (Excludes Veterans)                   0   34 5 Marine Product                   Liability                                                       0 840 Trademark                                                  Cohupt Organizations
0   153 Recovery of Overpayment                          Liability                PERSONAL PROPERTY           15%             J;;:MJ(f)R--;;::.           ':IS@'.€!""" ·c;sE<'lURfiW-                           0    480 Consumer Credit
         of Veteran's Benefits                 0   350 Motor Vehicle             0 3 70 Other Fraud            0 710 Fair Labor Standards                0 861 HIA (l 395ff)                                    0    490 Cable/Sat TV
0   160 Stockholders' Suits                    0   355 Motor Vehicle             0 3 71 Tmth in Lending                 Act                              0 862 Black Lung (923)                                 0    850 Securities/Commodities/
0   190 Other Contract                                  Product Liability        0 380 Other Personal          0 720 Labor/Management                    0 863 DIWC/DIWW (405(g))                                         EX:change
0   195 Contract Product Liability             0   360 Other Personal                   Property Danmge                 Relations                        0 864 SSID Title XVI                                   0    890 Other Statutory Actions
0   196 Franchise                                       Injury                   0 385 Property Damage         0 740 Railway Labor Act                   0 865 RSI (405(g))                                     O    891 Agricultural Acts
                                               0   362 Personal h1jmy -                 Product Liability      0 751 Family and Medical                                                                         0    893 Environmental Matters
                                                       Medical Malpractice                                              Leave Act                                                                               O    895 Freedom oflnfonnation
l~.'.BROPERilfY8lll!i:lll!~~ 1'= 11 m•1~~GBI:S.m11::wlll IIB'RRISONBR!P.EiUirlbN&-1llil                        0 790 Other Labor Litigation             rnllill!mEDERAL,TAXIS"IDIII'S1 ~                                  Act


                                            ~°''"'"""
                                                                                      Habeas Corpus:           0 791 Employee Retirement                0 870 Taxes (U.S. Plaintiff                             0    896 Arl\itration
0   "OUmdCoo""""•"oo {
0 220 Foreclosure                                       ting                     0    463 Alien Detainee               Income Security Act                    or Defendant)                                     0    899 Aclininistrative Procedure
0 230 Rent Lease & Ejectme                             iployment                 0    510 Motions to Vacate                                             0 871 IRS-Third Party                                            Act/Review or Appeal of
0 240 Torts to Land                                     using/                            Sentence                                                            26 USC 7609                                                Agency Decision
0 245 Tort Product Liability                           conunodations             0    530 General                                                                                                               O    950 Constitutionality of
0 290 All Other Real Property                          1er. w/Disabilities -     0    535 Death Penalty        BOOllllHnIMMlGU'.(.(O.Nm:::::::J:,                                                                         State Statutes
                                                     Employment                       Other:                   0 462 Naturalization Application
                                               0 446 Amer. w/Disabilities -      0    540 Mandamus & Other     0 465 Other Innnigration
                                                     Other                       0    550 Civil Rights                Actions
                                               0 448 Education                   0    555 Prison Condition
                                                                                 0    560 Civil Detainee -
                                                                                          Conditions of
                                                                                          Confinement




                                                         (See instructions):
           IF ANY                                                                JUDGE                                                                       DOCKET NUMBER
DATE
                                                                                      SIGNATU~Y°/.REL~
03/26/2019
FOR OFFICE USE ONLY

    RECEIPT#                             AMOUNT                                          APPLYING IFP                                    JUDGE                            Fl~MARic2---'-G--"""'20.......19...____
                              Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 2 of 15
                                                             UNITED STATES DISTRICT COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                  DESIGNATION FORM
                      (to be used by counsel or prose plaintiff to indicate the category of the case for the purpose of assignment to (he appropriate calendar)

 Address of Plaintiff:                            436-1/2 W. Turner Street, Apt. 3, Allento~r, PA 18102
 Address ofDefendant:                                702 SW 8th Street, Bentonville, Arka~~as 72716
 PlaceofAccident,IncidentorTransaction:                           3215 Commerce Center Blvd, B~thlehem, PA 13015
                                                                                                                                         I           I
                                                                                                                                                     '
 RELATED CASE, IF ANY:

 Case Number:                                                     Judge:                                                           DatelIT~rminated:

 Civil cases are deemed related when Yes is answered to any of the following questions:                                                              ,

 1.     Is this case related to property included in an earlier numbered suit pending or within one year                                YbsiD                         No[ZJ
        previously terminated action in this court?                                                                                     I:                                    •
2.      Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                            YesiD                            No~
        pending. or wit~in one year pr~v~ousl~ ter~inated action in this court? .   .            .                                      I:                                    :
 3.     Does this case   mvol~e v~hd_1ty mfrmgem~nt pat~nt alread~
                            the        or              ofa               m smt ?r any earlier                                           YeslD                         No[{'.]
        numbered case pendmg or w1thm one year prev10usly termmated act10n ofth1s court?                                                I '                                r-/
4.      Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                            Yes! D                           No   b!1j
        case filed by the same individual?                                                                                            I :                                     ·

I certify that, to my knowledge, the within case          D is    I dis not related to any case now pending or within oU:e year previously terminated action in
this court except as noted above.                                    •                                                                  I
DATE:          c'f3 la~ laiot9
                   I   r
                                                                 lJJ,u/l;,, e!Jl/lil'/Al'.All'l-
                                                                                 Attorney-at-Law I Pro Se Plaintiff                     I
                                                                                                                                             ;
                                                                                                                                                 i
                                                                                                                                                          3/1\833
                                                                                                                                                         Attorney ID. #(if applicable)


CIVIL: (Place a --J in one category only)

A.             Federal Question Cases:                                                            B.    Diversity Jurisdiction Cases:

               Indemnity Contract, Marine Contract, and All Other Contracts                       D     !.   Insurance Contract and Other Contracts
               FELA                                                                               D     2.   Airplane Personal Inju~i
               Jones Act-Personal Injury                                                          D     3.   Assault, Defamation j ,
               Antitrust                                                                          D     4.   Marine Personal Injury •
               Patent                                                                             D     5.   Motor Vehicle Person~l tnjury
               Labor-Management Relations                                                         D    6.    Other Personal Injury IPlf!ase specifY):
               Civil Rights                                                                       D    7.    Products Liability       ;
               Habeas Corpus                                                                      D     8.   Products Liability - Asb¢stos
               Securities Act(s) Cases                                                            D     9.   All other Diversity Ca~e~
               Social Security Review Cases                                                                  (Please specifY):          I    I

D              All other Federal Question Cases                                                                                  ---+-11     !-----'----
               (Please specifY): - - - - - - - - - - - - - - - - - -

                                                                                                                                        I I
                                                                                  ARBITRATION CERTIFICATION                             I    i
                                                   (The effect of this certification is to remove the case from eligibility for arb,itr(ltion.)

              William P. Mansour
!, _ _ _ _ _ _ _ _ _ _ _ _ _ _ , counsel of record or pro seplaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damage~ tecoverable in this civil action case
      ~       exceed the sum of $150,000.00 exclusive of interest and costs:

      D       Relief other than monetary damages is sought.
                                                                         .....

DATE:      03/26/2019                                             Wdkvn efJl/anAOJAIL
                                                                             Attorney-at-Law I Pro Se Plaintiff
                                                                                                                                                              318833
                                                                                                                                                         Attorney l.D. #(if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (512018)
               Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 3 of 15
                                                                                  I

                          IN THE UNITED STATES DISTRICT COURT                             i


                       FOR THE EASTERN DISTRICT OF PENNSYLVtl~UA

                       CASE MANAGEMENT TRACK DESIGNATION F1dRM
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    IV\llr\o.M
                   s U.CCOJ"                       :
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                                                                                     ACTION
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                         V.                        :                              I


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                                          fo5, ·                              : · j       •

In accordance with the Civil Justice Expense and Delay Reduction Plan pf this court, coun~el for
plaintiff shall complete a Case Management Track Designation Form in all ~ivil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plaili set forth on the r¢verse
side of this form.) In the event that a defendant does not agree with th~ plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the detk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Fqrm specifying the track
to which that defendant believes the case should be assigned.                     I

                                                                                  I       ,
                                                                                  I       I
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:                               I       :

                                                                                  I :
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255:.                             ( )
(b) Social Security- Cases requesting review of a decision of the SecretaiiofHealth
    and Human Services denying plaintiff Social Security Benefits.       I                           ( )
(c) Arbitration- Cases required to be designated for arbitration under    Lo~at Civil Rule 53.2.     ( )

(d) Asbestos - Cases involving claims for personal injury or property daulage from
    exposure to asbestos.                                                 [·                         ( )
(e) Special Management- Cases that do not fall into tracks (a) through (d~ that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                        I

                                                                              I       ,


(f) Standard Management - Cases that do not fall into any one of the      othe~ tracks.
                                                                              I




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Date ;                             Attorney-at-law                       Attorney for
                                                                              I


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Telephone                           FAX Number                           E-Mail
                                                                            I . Address



(Civ. 660) 10/02




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            Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 4 of 15


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                                                                                         i

                      IN THE UNITED STATES DISTRICT COURT                                I


                   FOR THE EASTERN DISTRICT OF PENNSYLV~IA
                                                                                     !



                                                   )
 MARIAM SUCCAR,                                    )
                                                   )
                 Plaintiff,                        )                No.   --~---


                                                   )
           v.                                      )
                                                   )                                 I
 WALMART, INC. f/k/a WAL-MART                      )                                 I
 STORES, INC. and WAL-MART STORES                  )              CIVIL ACTIIDN - LAW
                                                                             I
 EAST, L.P.,                                       )
                                                   )
                 Defendants.                       )
_____________ )
                                                                                     I
                                           COMPLAINT                                 I



       NOW COMES, Plaintiff MARIAM SUCCAR ("Plaintiff'),                       qy    I
                                                                                              and through her
                                                                                                               .



                                                                                     '

undersigned counsel, who hereby complains against Defendants WALMAkT, INC. f/k/a WAL-
                                                                                     !



MART STORES, INC. and WAL-MART STORES EAST, L.P.                      (collectiv~ly, "Defendants") as          1




follows:

                                         INTRODUCTION

       1.       This sex and pregnancy-based employment discrimination ac~ion arises under Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq. ("Title     vnh.              Specifically, as set

forth in more detail herein, Plaintiff alleges that she was unlawfully !discharged from her
                                                                                i
                                                                                I

employment with Defendants because of her sex and pregnancy in violatio~ of Title VII.

                                             PARTIES
                                                                                Ii




       2.       Plaintiff is an adult individual currently residing at 436 Yi W ~st
                                                                                I
                                                                                    Turner Street, Apt.
                                                                                                    .
                                                                                I

3, Allentown, PA 18102.                                                         1




                                                                                !


       3.       Defendant WALMART, INC. f/k/a WAL-MART                STORE~,                INC. is publicaHy-
                                                                                1




traded American multinational retail corporation that owns and operates a !chain of retail stores,
             Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 5 of 15




discount stores, grocery stores, and supermarkets. WALMART, INC.'s hekdquarters are located

at 702 SW 8th Street, Bentonville, Arkansas 72716.

        4.      Defendant WAL-MART STORES EAST, L.P. is a wholly:-owned subsidiary of

Defendant W ALMART, INC. f/k/a WAL-MART STORES, INC .. WAL-MART STORES EAST,

L.P. owns and operates various "Walmart" stores throughout the United States. Its headquarters

are located at 601 N. Walton Boulevard, Bentonville, Arkansas 72716.

                                 JURISDICTION AND VENUE

        5.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C §

1331 because this action arises under the laws of the United States.
                                                                                I

        6.      Venue in this district is proper under 28 U.S.C. § 1391(b)(2) ahd 42 U.S.C. § 2000e-

5(±)(3) because the events giving rise to this action occurred within this distfict.

       7.       On July 23, 2018, Plaintiff timely filed a Charge of piscrimination agaililst

Defendants with the United States Equal Employment Opportunity Commi~sion ("EEOC").

       8.       On February 14, 2019, the EEOC issued a Dismissal and Notice of Rights to

Plaintiff, a copy of which is attached hereto as EXHIBIT A. This action! is being commenced

within ninety (90) days of Plaintiffs receipt of that Notice.

                                   FACTUAL ALLEGATIONS

       9.       Plaintiff began working for Defendants on October 1, 2012! as a Cashier at Store

#2145 located in Whitehall, Pennsylvania. In August 2014, she transferred to Distribution Center

#7356 located in Bethlehem, Pennsylvania and worked most recently as a Packer.

       10.      As a Packer at Distribution Center #7356, Plaintiff typically worked Monday

through Thursday from 7:00 a.m. to 5:30 p.m. At the time of her terminatipn, she was earning a

base hourly wage of $18.25 per hour, plus various fringe benefits.



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             Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 6 of 15




        11.     During her employment with Defendants, Plaintiffs job Jerformance exceeded

expectations. Indeed, in October 2017, Defendants presented Plaintiff with a ~ertificate to celebrate

5 years of her "loyalty, dedication and hard work." Later, in January 2018, she was presented with

a "Certificate of Appreciation" in recognition of her "service to the local c<i>mmunity." Copies iof

these certificates are attached hereto as EXHIBIT B.

        12.     Defendants' attendance policy requires employees to report to work four (4)

minutes before the start of their shifts and to clock in when their shifts start. If an employee arrives

late or leaves early, Defendants' policy mandates the issuance of an "occurrence."

        13.     The accumulation of a certain number of "occurrences"         tr~ggers   a "step" in the

disciplinary process. Upon information and belief, there are three such "steps." Typically, several

occurrences are needed before a "step" is reached and, as a general rulp, employees are not

terminated until reaching the third "step." Every six (6) months, one "occurrtjnce" is removed from

the employee's record.

       14.      In the six (6) months prior to her termination on June 6, 20~8, Plaintiff had been

tardy on two (2) occasions and received an "occurrence" for each of tliose occasions. Upon

information and belief, she had not received enough "occurrences" to trigg¢r even the first "step"

of Defendants' disciplinary process.

       15.      On or about June 1, 2018, Plaintiff learned she was pregn$t. As a result of her
                                                                                !

pregnancy, she experienced episodes of severe nausea and heartburn on a d~ily basis.

       16.      On June 5, 2018, Plaintiff informed her manager, Joe Bealer, that she was pregnant.

       17.      On June 6, 2018, as Plaintiff was driving to work, she was fofoed to pull over twice

to vomit because of the severe nausea she was experiencing that morning.




                                                   3
             Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 7 of 15




        18.     On that same date, Plaintiff arrived to work and entered theipremises at precisely

7:00 a.m. Plaintiff knew it was 7:00 a.m. because she looked at her cell phone clock just before

entering the building and she looked at the punch-in clock on the wall jµst after entering the

building. Both showed the time being 7:00 a.m.

        19.     Without clocking in, Plaintiff immediately reported directly to Bealer. She told him

that she did not clock in and explained that she did not arrive prior to 7:00 a.m'. because she vomited

twice during her commute to work that morning.

        20.     Bealer asked Plaintiff twice what time she arrived, to which Plaintiff replied: "7:00

a.m." Bealer then asked why Plaintiff did not clock in, and Plaintiff responded that she did not

clock in because she was not feeling well due to her pregnancy. Bealer agreed, stating "You look

very pale."

       21.      Plaintiff told Bealer that she would prefer to take the day off, but that she was afraid

of receiving an "occurrence," so she would try to complete her shift. Shd then reported to her

station and began working.

       22.      Around 11 :00 a.m. that day, Bealer called Plaintiff to his office and asked her to

write down exactly why she was late that morning. Plaintiff complied and wrote that she was late

because she vomited twice during her commute to work that morning due to pomplication with her

pregnancy. Bealer than said he was going to give Plaintiffs written statement to Human Resourc·es

and that they were going to investigate the matter.

       23.      About thirty (30) minutes later, Plaintiff began feeling   wors~   and felt like she was

going to faint. She tried to find Bealer to ask if she could go home, but she could not find him.

       24.      Shortly thereafter, Plaintiff was called into the Human Resburces office to meet

with Bealer, another manager named "Heather," and a Human Resources supervisor.



                                                  4
             Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 8 of 15




        25.     During this meeting, Bealer accused Plaintiff of "stealing company time" by

allegedly reporting for work that day at 7:03 a.m. and by failing to clock in. She reiterated that she

arrived at 7 :00 a.m., but nevertheless apologized for being late.

        26.     Plaintiff began crying and, again, explained to Bealer and the bthers that she arrived

later than usual because she vomited twice during her commute to work that morning due to

complications with her pregnancy. She begged Bealer and the others to give her a chance to obtain

paperwork from her doctor, but they refused.

       27.      Instead of issuing Plaintiff an "occurrence" for her alleged taridiness, as their policy

dictates, Defendants terminated Plaintiffs employment effective immediately. Plaintiff was

required to tum in her badge and escorted from the building by Bealer.

       28.      Upon information and belief, male employees and other inon-pregnant female

employees would have received, and in fact did previously receive, an "occurrence" for similar

tardiness without being terminated. Indeed, prior to becoming pregnant, Plaintiff, herself, received

only an "occurrence" for prior instances of tardiness.

                                        COUNT I
                 DISCRIMINATORY DISCHARGE IN VIOLATION OF
       42 U.S.C. § 2000e-2(a)(l}, TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

       29.      Plaintiff incorporates by reference all preceding allegations asi if same were set forth

more fully at length herein.

       30.      Plaintiff was a member of a protected class because she was female and pregnant.

       31.      At the time of her discharge, Plaintiff was performing her job:satisfactorily and had

not been disciplined in relation to her job performance or attendance.

       32.      Plaintiff was discharged from her employment with Defendants on June 6, 2018 for

allegedly reporting late to work and/or incorrectly reporting the time she arrived at work.



                                                   5
             Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 9 of 15




        33.     Upon information and belief, other male and/or non-pregnant employees had not

been discharged from their employment for reporting late to work and/or incorrectly reporting the

time they arrived at work.

        34.     Upon information and belief, the employee hired to replace Plaintiff was either

male or a non-pregnant female.

       35.      Defendants discharged Plaintiff from her employment because of her sex and

pregnancy.

       36.      Defendants discharged Plaintiff from her employment because they knew she was

pregnant and did not want to accommodate her pregnancy and related medical issues in the future.

       37.      Defendants did not have any legitimate, non-discriminatory reason for discharging

Plaintiff from her employment.

       38.      Defendants' discharged Plaintiff from her employment intentionally and in reckless

disregard for Plaintiffs rights under federal law.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter judgment

in her favor and against Defendants, jointly and severally, and award the following relief:

                a.     All back pay from the date of termination through the date of judgment, phis

                       pre- and post-judgment interest;

                b.     Front pay from the date of judgment through a date <.leemed equitable and

                       just by the court;

                c.     Compensatory damages in an amount to be determined by a jury;

                d.     Punitive damages in an amount to be determined by a jury;

                e.     All costs and reasonable attorney's fees; and

                f.     Any other relief deemed proper and just.



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          Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 10 of 15




                            DEMAND FOR JURY TRIAL

       PLEASE TAKE NOTICE that Plaintiff Mariam Succar demands a trial by jury for all

claims so triable.



                                              Respectfully Submitted,

                                              KITAY LAW OFFICES
                                                    .
                                       BY:     hf_~/! fJ!la&JdWL
                                              William P~Mmsour, Esquire
                                              Pa. Attorney ID No. 31'8833
                                              Kitay Law Offices
                                              1810 Union Blvd.
                                              Allentown, PA 18109
                                              P: (610) 776-1700
                                              Email: wmansour@kitaylegal.com

                                              Attorney for Plaintiff Mariam Succar

Dated: March 26, 2019




                                          7
Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 11 of 15




                   V LIHIHX:tl
                     Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 12 of 15




 EEOC Fann 161 (11/16)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                  DISMISSAL AND NOTICE OF RIGHTS
 To:    Mariam Succar                                                                  From:     Philadelphia District Office
       436 1/2 W Turner St, Apt 3                                                               801 Market Street
       Allentown, PA 18102                                                                      Suite 1300
                                                                                                Philadelphia, PA 19107



       D                     On behalf of person(s) aggrieved whose identity is
                             CONFIDENTIAL (29 CFR §1601.7(a))
 EEOC Charge No.                                 EEOC Representative                                                   Telephone No.


 530-2018-04932                                  Legal Unit                                                            (215) 440-2828 .
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       D         The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


       D         Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


       D         The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


       D         Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the: alleged
                 discrimination to file your charge
       W         The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude :that the
                 information obtained establishes violations of the statutes. This does not certify that the' respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having1 been raised by this charge.
       D         The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

       D         Other (briefly state)



                                                         - NOTICE OF SUIT RIGHTS •
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscriminatio:n Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your rigtlt to sue that we will seind you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years ifor willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred 'more than 2 years (3 years}
before you file suit may not be collectible.



                                                                                                                     2/14/2019
Enclosures(s)                                                                                                                   (Date Mailed)


cc:
           Maile Gilmore                                                             William Mansour
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           Kansas City, MO 64108
Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 13 of 15




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Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 14 of 15
Case 5:19-cv-01273-JLS Document 1 Filed 03/26/19 Page 15 of 15
